Case 1:01-cv-12257-PBS Document 4966-13 Filed 12/31/07 Page 1 of 3

MDL
EXHIBIT 7

From: Donal Aamldnd fata haviarid @RavadAGeMemPI66-13 Filed 12/31/07 Page 2 of 3
Sent: Thursday, December 06, 2007 1:42 PM

To: Dauphine, Dawn; ‘Larry Crown’; ‘Jorge Franco’

Subject: RE: Swanston

Dawn

There is no such directive from Judge Saris. You are misinformed.

As for what | represented to Judge Barton, | advised here we intended to dismiss voluntarily the overlap to avoid a
jurisdictional issue.

There is nothing to “take up” with Judge Barton

We will file an appropriate Motion and your defense group can respond as appropriate under the Rules.

Have a nice day.
Don

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haviland@havilandlaw.com

neces Original Message-----

From: Dauphine, Dawn [mailto:ddauphine@omlaw.com]
Sent: Thursday, December 06, 2007 3:29 PM

To: Donald Haviland; Larry Crown; Jorge Franco
Subject: Swanston

Don,
Defense counsel for the entity defendants have had an opportunity to discuss the new stipulation that you

provided to us yesterday. We do not agree with your new proposed stipulation. When the parties
previously represented to the Court the desire to file a stipulation for dismissal, you represented that the
stipulation would dismiss overlapping defendants. However, your proposed stipulation seeks to dismiss
overlapping claims, not overlapping defendants. As such, itis not what you represented to Judge Barton
and the defendants, and is not what Judge Saris has instructed you to do. Accordingly, you are not
authorized to file the stipulation with defense counsel's signatures.

We strongly re-urge you to file the stipulation that we originally presented to you. If you have any specific
disagreement with any of the language of that stipulation, we would be happy to discuss it with you, but

time is now very short.

If you choose not to enter into a stipulation to dismiss overlapping defendants as you represented to the
Court, we will plan to take up the matter with Judge Barton on Monday (and with Judge Saris at a later

date).

Page 2 ot 2
Case 1:01-cv-12257-PBS Document 4966-13 Filed 12/31/07 Page 3 of 3°

Dawn

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12/28/2007

